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SOUTHERN DISTRICT OF NEW YORK 1IXTC¢1_YF(#_FF”)_#_{”_F_
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UNITED STATES OF AMERICA : ~”_:“:t_r
SEALED INDICTMENT

 

 

.... v- _.

19 Cr.

LAURENCE F. DOUD III,

   

Defendant.

 

 

COUNT ONE
(Narcotics Conspiracy)

The Grand Jury charges:
The Defendant

1. From in or about September 1991 through in or about April
2017, LAURENCE F. DOUD 111, the defendant, was the chief executive
officer (“CEO”) of Rochester Drug Co-operative, Inc. (“RDC” or the
“Company”). As the CEO of RDC, DOUD was responsible for, among
other things, supervising the Company’s compliance with federal
narcotics laws.

Overview

2. At all times relevant to this Indictment, RDC was a
wholesale distributor of pharmaceutical products, including
controlled substances, headquartered in Rochester, New York. At
various times relevant to this Indictment, RDC was the fourth

largest wholesale distributor in New York and one of the nation’s

 

   

 
 

 

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ten largest distributors, with at least approximately 1,300
pharmacy customers and over $1 billion in revenue per year.

3. For at least half a decade, RDC distributed dangerous,
highly addictive opioids to pharmacy customers that its senior
management, including LAURENCE F. DOUD 111, the defendant, knew
were being sold and used illicitly. Among other things, and at
the direction of DOUD, RDC supplied tens of millions of oxycodone,
fentanyl, and other dangerous opioids to pharmacy customers that
its own compliance personnel determined, and reported to DOUD,
were dispensing those drugs to individuals who had no legitimate
medical need for thenn DOUD directed the Company to supply
pharmacies he knew were dispensing controlled substances in
contravention of the Controlled Substances Act (“CSA”), in order
to maximize the Company's revenues and DOUD’s compensation.

4. To perpetuate this scheme, RDC, acting at the direction
of LAURENCE F. DOUD lll, the defendant, violated the CSA and RDC’s
own written polices in an effort to conceal the Company's illicit
distribution of controlled substances from the Drug Enforcement
Administration (“DEA”) and, other law enforcement authorities.
Among other things, DOUD and other members of RDC’s senior
management made the deliberate decision not to investigate,
monitor, or report to the DEA pharmacy customers that they knew

were diverting controlled substances for illegitimate use.

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Because DOUD knew that reporting these pharmacies would likely
result in the DEA investigating and shutting down the Company’s
customers, DOUD directed the Company's compliance department not
to report them, and instead to continue supplying those customers
with dangerous controlled substances that the Company knew were
being dispensed and used for illicit purposes.

The Opioid Epidemic

 

5. OXycodone and fentanyl are two highly addictive,
narcotic-strength opioids. These opioids are used to treat severe
and chronic pain conditions, such as post-operative pain, serious
back and orthopedic injuries, as well as pain associated with
certain forms of cancer and other terminal illnesses. Oxycodone,
which is distributed as a pill, and fentanyl, which is distributed
as a patch or spray, can only be obtained from pharmacies with a
prescription written by a treating physician, or other authorized
health care practitioner.

6. Because of their highly addictive qualities, opioids
such as oxycodone and fentanyl are frequently abused, which abuse
can lead to opioid dependence, addiction, and the use of illicit
narcotics such as heroin. LAURENCE F. DOUD lll, the defendant,r
was well aware of these facts. lndeed, in October 2014, DOUD
received a report stating that “[tjhe United States is in the midst

of a prescription drug abuse epidemic as addiction, overdoses and

 

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deaths associated with medical drug use have risen dramatically.”
Because they are highly addictive and available pursuant only to
a prescription, oxycodone and fentanyl products have enormous cash
value to drug dealers who sell oxycodone pills or fentanyl products
to addicted individuals on the street for thousands of dollars.

Responsibilities under the Federal Narcotics Laws

 

7. The CSA regulates the manufacturing, distribution, and
use of substances that can have a detrimental effect on public
health and welfare. See 21 U.S.C. § 801, et seq. Some of those
controlled substances, including opioids such as oxycodone and
fentanyl, may be manufactured, distributed, or used lawfully in
accordance with the requirements and limitations of the CSA.

8. To distribute controlled substances like oxycodone and
fentanyl, a company such as RDC must register with the DEA and
comply with laws and regulations imposed by the CSA. Throughout
the time period relevant to this lndictment, the DEA was
responsible for enforcing the CSA and its implementing regulations
including byr among other things, approving distributors’
registrations, conducting audits and inspections, reviewing sales
data and suspicious order reports, and bringing enforcement
actions against registrants who failed to comply with the CSA.

9. As a registered distributor,r RDC is required to maintain

“effective control[s] against diversion of particular controlled

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substances into other than legitimate medical, scientific, and
industrial channels.” 21 U.S.C. § 823(b){1). As a registered
distributor, RDC is also responsible for reporting suspicious
orders to the DEA, which are defined by regulation as including
“orders of unusual size, orders deviating substantially from a
normal pattern, and orders of unusual frequency.” 21 C.F.R. §
1301.74(b).

10. LAURENCE F. DGUD III, the defendant, was aware of the
legal requirements imposed on pharmaceutical distributors. On
multiple occasions during the period relevant to this lndictmentr
RDC’s compliance department personnel and attorneys advised DOUD
of RDC’s obligations under the CSA. For example, in 2014, a
compliance consultant instructed DOUD and others that “[a]s a
distributor, [the Company] need[ed] to comply with the DEA ‘Know-
Your-Customer’ Due Diligence policy,” which requires RDC to
lcollect and analyze customers' controlled substances dispensing
data in order to prevent diversion. The compliance consultant
further warned that RDC could be placed in the DEA's “cross-hairs

. because of [its] willful blindness and deliberate ignorance.”
The compliance consultant explained that RDC could be in legal
jeopardy by distributing controlled substances to customers “that
are dispensing controlled substances not for legitimate medical

purposes, accepting controlled substances prescriptions from bad

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doctors or accepting ‘cash’ only for bad prescriptions.”
Similarly, later that year, in a memorandum addressed to DOUD,
RDC's outside legal counsel explained RDC’s obligations under the
CSA and noted that RDC could face legal sanctions for failure to
comply with the CSA. `

11. At various times relevant to this lndictment, and as
required by the CSA and its implementing regulations, RDC
promulgated policies purported to control against diversion of
controlled substances and report suspicious orders to the DEA.
Those policies were shown to and reviewed by LAURENCE F. DOUD lll,
the defendant. RDC informed the DEA of these policies and, from
time to time, provided copies of those policies to the DEA.

12. At various times relevant to this lndictment, RDC also
notified its customers that it was required to report suspicious
orders for controlled substances to the DEA, and that it would not
ship orders that were deemed suspicious. LAURENCE F. DOUD lll,
the defendant, was aware of the fact that RDC provided such notice

to its customers.

DOUD’s Participation in the Uniawful
Distribution of Controlled Substances

 

 

13. Between in or about 2012 and in or about March 201?,
LAURENCE F. DOUD 111, the defendant, participated in a conspiracy
to violate the federal narcotics laws by, among other things,

directing that RDC distribute to its pharmacy customers controlled

 

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substances -- including dangerous opioids such as oxycodone and
fentanyl -- that were being sold and used illicitly. DOUD did so
to, among other things, maximize RDC’s revenues and his personal
compensation.

14. Throughout the relevant time period,r LAURENCE F. DOUD
lll, the defendant, directed that RDC dispense controlled
substances to customers that the Company’s compliance department
had concluded displayed “red flags” indicating that a pharmacy was
dispensing controlled substances for other than legitimate medical
purposes to individuals who were selling or abusing the substances.
Those “red flags,” which were identified in RDC’s own policies,
included1 among other things, “[d]ispensing highly-abused
controlled substances” in large quantities, purchasing “only

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controlled substances and little else, “[d]ispensing quantities
consistently higher than accepted medical standards,” “{a}ccepting
a high percentage of cash from patients,” “{d]ispensing to out-
of-area or out-of-state patients,” and “[f]illing controlled
substance prescriptions issued by practitioners acting outside the
scope of their medical practice or specialty.” RDC’s compliance
department personnel repeatedly reported to DOUD that many of its
largest customers were dispensing controlled substances that were

being' diverted from legitimate channels of distribution.

Nonetheless, DOUD directed the compliance department and sales

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personnel to continue supplying these pharmacies with oxycodone,
fentanyl, and other controlled substances.

15. ln almost every case, RDC continued to distribute
controlled substances to the pharmacies it identified as
displaying “red ,flags” of unlawful dispensing of controlled
substances even after LAURENCE F. DOUDr the defendant,r and RDC’s
chief compliance officer (the “Compliance Officer”) became aware
of these problems. On multiple occasions, the Compliance Officer
confirmed to DOUD that RDC would not terminate sales to a customer
without first obtaining approval from DOUD. When_ compliance
employees did, in fact, notify DOUD that they were troubled by the
large quantities of controlled substances being purchased by some
of the Company’s customers, DOUD dismissed the concerns and rarely
authorized the termination of business with the customers.

16. ln particular, for years throughout the time period
relevant to this lndictment, RDC’s compliance department staff and
members of the Company's senior management warned LAURENCE F. DOUD
lll, the defendant, that they believed RDC's largest pharmacy
customer (“Pharmacy-l”) was distributing controlled substances
that were being diverted for illegitimate purposes. Nonetheless,
DOUD repeatedly disregarded these warnings and instructed RDC’s
employees to ship increasingly large orders of controlled

substances to Pharmacy-l.

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a. ln 2012, shortly after Pharmacy-l became a
customer, it began ordering oxycodone that exceeded the limits
that had been set by RDC’s compliance department. While, pursuant
to RDC’s own written policies, RDC's compliance department was
supposed. to hold back orders that exceeded. those limits, the
Compliance Officer, at the direction of DOUD, regularly released
Pharmacy-l's orders for shipment. On one occasion, the Compliance
Officer informed DOUD that while he had released an order for
shipment the following day, they needed to “discuss [Pharmacyml’s]
ordering amounts” because “they are getting to a point where we
may not want to go.” DOUD, however, disregarded the Compliance
Officer’s warning, and instead insisted that the order be shipped
that night because Pharmacy-l was a “big account.”

b. Over the next several years, Pharmacy-l’s orders of
oxycodone and fentanyl grew exponentially. During the relevant
time period, Pharmacy-l became one of the nation’s largest
dispensers of Subsys, a highly-additive fentanyl spray, and RDC
was its primary supplier. Toward the end of 2013, the Company’s
chief operating officer (“Executive-Z”) told DOUD that Executive-
2 was “very concerned with the growth of Subsys” at Pharmacy-l,
and that his “gut feeling is the risk is to [sic] great versus the
reward” and “that [the pharmacyl could potentially become a real

problem for RDC.” DOUD, however, disregarded those warnings, and

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when Executive-2 continued to question whether RDC should maintain
a financial relationship with Pharmacy-l, DOUD told Executive-Z,
“Kill it and dieE”

c. By ndd-QOld, the nenufacturers who supplied RDC
began warning the Company that if it continued to distribute to
Pharmacy-l, they would “sanction” or even terminate sales to RDC.
lnternally at RDC, the Company’s compliance and sales personnel
discussed “slowing down” on fentanyl sales to Pharmacy-l in order
to appease the manufacturers that supplied RDC. DOUD was aware of
the manufacturers’ complaints, but he nonetheless insisted that
RDC continue to ship orders to Pharmacy-l. Indeed, even when
Pharmacy-l started refusing to provide reports of its sales to RDC
in 2014, DOUD refused to curtail sales to Pharmacy-l. lnstead,
RDC continued -m and in fact grew -- its sales to Pharmacy-l
throughout DOUD’s tenure as CEO.

d. Despite all of the warning signs associated with
Pharmacy-l, DOUD insisted that RDC continue sales to Pharmacy-l,
and DOUD continued to personally profit from the business
relationship. Specifically, DOUD received aa substantial bonus
based on RDC's earnings, and because Pharmacy-l was RDC’s largest
customer, DOUD had a financial incentive for RDC to continue
filling Pharmacy-l’s orders for exponentially increasing

quantities of controlled substances.

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17. ln addition to RDC’s unlawful sales of certain dangerous
controlled substances to Pharmacy-l, LAURENCE F. DOUD lll, the
defendant, knew that RDC was distributing controlled substances to
other pharmacy customers who were diverting controlled substances
for illicit purposes. For instance, in 2013, RDC's head of sales
observed to DOUD that “we have some VERY suspicious customers due
to their buying” of large quantities of controlled substances.
Nonetheless, the Company continued to supply the customers with
controlled substances and did not report the pharmacies to the
DEA. Similarly, the Compliance Officer and_ other compliance
department employees repeatedly noted to DOUD that the Company’s
customers were filling prescriptions written by doctors who were
under DEA. investigation or were on RDC’s “watch list,” i.e.,
doctors whom RDC had identified as potentially diverting
controlled substances. Despite the fact that the Compliance
Officer told DOUD that some of RDC’s customers were filling
prescriptions written by these problematic doctors -- and even
mentioned some of the doctors by name to DOUD -- RDC nonetheless
continued to supply these_customers with controlled substances and
did not report the pharmacies to the DEA.

18. RDC also supplied pharmacies that LAURENCE F. DOUD lll,
the defendant, knew' were dispensing controlled substances to

patients traveling to the pharmacies from out-of-state and who

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were paying for controlled substances in cash, both of which are
“red flags” that the patients using those controlled substances
had no legitimate medical need for them. For instance, in 2012,
the Company began supplying a pharmacy that admitted it did not do
any due diligence on its opioid prescriptions. By 2014, RDC
observed that over sixty percent of the prescriptions filled by
the pharmacy were paid for in cash and nearly all cash»paying
patients were traveling to the pharmacy from out of state. ln an
email to DOUD and others, one of RDC’s compliance auditors
described the pharmacy as a “DEA investigation in the making,” to
which DOUD replied, “l don't think this is going to end weli.”
Nonetheless, RDC continued to supply the pharmacy with controlled
substances for approximately another four years, and did not stop
supplying the pharmacy until 2018, after the DEA began a criminal
investigation of the Company.

19. LAURENCE F. DOUD lll, the defendant, directed RDC’s
continued distribution of controlled substances to these pharmacy
customers that he knew were dispensing narcotics for illicit
purposes, despite knowing that the pharmacies’ dispensing
practices were in contravention of the CSA.

Statutory Allegation

 

20. Fron1 at least in or about January 2012, up to and

including in or about March 2017, in the Southern District of New

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York and elsewhere,r LAURENCE F. DOUD 111, the defendant, and others
known and unknown, intentionally and knowingly did combine,
conspire, confederate, and agree together and with each other to
violate the narcotics laws of the United States.

21. lt was a part and an object of the conspiracy that
LAURENCE F. DOUD lll, the defendant, and others known and unknown,
would and did distribute and possess with intent to distribute
controlled substances, outside the scope of professional practice
and not for a legitimate medical purpose, in violation of 21 U.S.C.
§ 841(a)(l).

22. The controlled substances that LAURENCE F. DOUD lll, the
defendant, and others known and unknown, conspired to distribute
and. possess with intent to distribute were (i) a quantity of
mixtures and substances containing a detectable amount of
oxycodone, in violation of 21 U.S.C. § 841(b)(l)(C), and (ii) 400
grams and more of mixtures and substances containing a detectable
amount of fentanyl, in violation of 2l U.S.C. § 841(b)(1)(A).

(Title 21, United States Code, Section 846.)

COUNT TWO
(Conspiracy to Defraud the United States)

The Grand Jury further charges:
23. The allegations contained in paragraphs l through 22 of
this lndictment are repeated and realleged as if fully set forth

herein.

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The Scheme to Defraud the DEA

 

24. Between in or about 2012 and in or about March 2017,
LAURENCE F. DOUD lll, the defendant, sought to obstruct and hinder
DEA oversight of RDC’s practices in order to prevent the DEA’s
enforcement of the narcotics laws against the Company and its
customers. Despite the statutory and regulatory requirements that
RDC guard against diversion and report suspicious orders to the
DEA, of which DOUD was aware, DOUD caused RDC to make material
misrepresentations to the DEA about its due diligence practices
and controls against diversion, and did not report to the DEA
thousands of suspicious orders from its customers.

25. ln order for the DEA to properly oversee the distribution
of controlled substances and carry out its mandate under the CSA
and implementing regulations, distributors -- such as RDC -- are
required to monitor their customers by investigating suspicious
activity and reporting such activity to the DEA. Beginning in or
about 2007, the DEA notified RDC in writing that it was required
by law to maintain a program, to guard against diversion, of
controlled substances by its customers, and needed to report to
the DEA those orders and customers that appeared suspicious. Those
notices were shared with LAURENCE F. DOUD lll, the defendant.

26. RDC created standard operating procedures for the

detection, and reporting' of diversion, of controlled. substances

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because RDC was required_ to do so by law. Specifically, on
multiple occasions during the relevant time period, RDC
represented to the DEA that it had standard operating procedures
for conducting due diligence on new customer accounts and reporting
suspicious orders to the DEA. For example, on multiple instances
including during DEA audits and in connection with RDC’s
application for a license to operate a new facility in Fairfield,
New Jersey, the Company provided the DEA with copies of its due
diligence and suspicious order reporting standard operating
procedures. Among other things, RDC's standard operating
procedures relating to customer due diligence, which LAURENCE F.
DOUD lll, the defendant, reviewed and was aware of, represented
that the Company would. conduct due diligence on new customer
accounts prior to selling new customers controlled substances. ln
addition, the Company’s standard operating procedures relating to
suspicious order reporting, which DOUD reviewed and was aware of,
represented that the Company' would report orders in. a manner
consistent with the DEA's regulations.

27. Despite these representations to the DEA, as well as the
statutory and regulatory obligations on distributors of controlled
substances, RDC, at the direction of LAURENCE F. DOUD lll, the
defendant, acted in direct contravention of, among other things,

the policies that the Company shared with the DEA and represented

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it followed._ DOUD and other members of senior management
instructed RDC employees to contravene its policies and DEA
regulations so that the Company could continue doing business with
customers DOUD knew were likely diverting controlled substances,
and to increase DOUD’s compensation.

Misrepresentations About the Company's Due Diligence

 

28. First, despite RDC's statutory obligation to maintain
effective controls against diversion, and the Company’s specific
representations to the DEA that it would conduct due diligence on
new customer accounts before opening them by, among other things,
reviewing multiple months’ worth of controlled substance
dispensing data, LAURENCE F. DOUD lll, the defendant, directed RDC
to open multiple new accounts without conducting any due diligence.
For example, in or about July 2015, in response to delays in new
account openings, DOUD began pushing to open new accounts
immediately, without conducting due diligence, and remarked that
even though he had “no idea if this {new pharmacy customer] is a
good guy or bad guy . . . it is taking too long {to open the
account} no matter what the problem is.” DOUD added, in a
subsequent email, “l know we have to do due diligence but we have
the tail wagging the dog . . . this HAS to stop . . . Good or bad.”

29. At the direction of LAURENCE F. DOUD lll, the defendant,

RDC opened multiple new customer accounts without conducting due

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diligence in advance of nmking sales of controlled substances.
Many cf these new customers, however, had dispensing practices

indicating that they were unlawfully distributing controlled

substances. lndeed, since at least 2012, DOUD was aware that
pharmacy customers were -- as One RDC salesperson told DOUD --
"scrambling to RDC as . . . other suppliers are cutting them off

due to their high [controlled substance] percentage of sales.”
Those problems continued into 2015 as DOUD was pushing RDC to open
new customer accounts without conducting due diligence. As the
Compliance Officer noted to other members of the compliance
department, “all the new stores we are bringing on have baggage.”
That was, according to what another compliance department employee
had heard, at least in part, because “everyone is being cut off by
{other distributors] and running over to RDC . . . we are picking
up rejects from other distributors.”

30. ln multiple cases, after opening new customer accounts
without conducting due diligence and selling controlled substances
for months, RDC discovered significant problems in the dispensing
records for those customers -- including high dosage opioid
prescriptions and accepting a high percentage of cash from patients
-- that suggested the pharmacies were unlawfully distributing
controlled substances. Nonetheless, LAURENCE F. DOUD lll, the

defendant, continued to push RDC’s compliance personnel to

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“explore the opportunities” to do business with new customers that
had been terminated by other distributors, and were “not even

on the borderline in terms of proper compliance standards,”
because he viewed RDC as “the knight in shining armor for
Independent[] [pharmacies].”

31. LAURENCE F. DOUD lll, the defendant, intended to defraud
the DEA with respect to RDC’s account opening due diligence
procedures. Specifically, the decision to open new accounts
without conducting due diligence, in contravention of the
Company’s representations to the DEA, was motivated, at least in
part, by DOUD’s perception that RDC could avoid DEA oversight
because of changing enforcement priorities. ln or about June 2016,
DOUD told Executive-Z and the Compliance Officer that “[b]ased on
recent government changed {sic} l want to accelerate our account
opening process. As soon as our credit managers completely approve
our credit app we will open an account right away.” DOUD justified
the change in the Company’s practice based on his perception that
“the government has recently told the DEA to lay off wholesalers.”

32. ln response to the direction of LAURENCE F. DOUD, the
defendant, that the Company open new accounts without conducting
due diligence, the Compliance Officer reminded, DOUD that the
Company’s standard operating procedure that it had provided to the

DEA “states that RDC will conduct a review prior to opening [a

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customer] to controls,” and suggested. that any change to the
company’s policy “be documented so we may show DEA.” Nonetheless,
and in order to conceal the Company’s change in practice, DOUD did
not amend, or instruct the Company to amend, its written policies
or notify the DEA of its change in procedures. At DOUD’s
direction,r and in contravention of its explicit representations to
the DEA, RDC began to open accounts without conducting due
diligence into the new customers’ ordering and prescribing
practices, and compliance employees subsequently determined that
some of those customers displayed “red flags” of diversion of
controlled substances.

Willful Failure to File Suspicious Order Reports

 

33. Second, in furtherance of the scheme to defraud the DEA,
LAURENCE F. DOUD lll, the defendant, directed RDC to avoid filing
suspicious order reports with the DEA, and RDC did avoid filing
such reports at DOUD’s direction. DOUD directed RDC not to report
suspicious orders in order to protect the profit being generated
by customers dispensing large quantities of controlled substances.
Indeed, at the direction of DOUD, the Compliance Officer instructed
compliance department employees by email that “we do not turn in
a store” merely based on suspicions of wrongdoing by the customer,

but rather choose “to educate and work with our customers.”

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3§. At the direction cf LAURENCE F. DOUD lll, the defendant,
rather than reporting suspicious orders, RDC’s compliance
department undertook to prevent the reporting of suspicious
orders. During the relevant time period, the Company maintained
an automated “order of interest” program, which flagged customer
orders for controlled substances that exceeded a customer’s pre-
established limits based on past order size. RDC represented to
the DEA that it used this system to identify suspicious orders.
But, in fact, the Company rarely investigated or held these
potentially suspicious orders, and willfully avoided filing
suspicious order reports with the DEA. For example, as DOUD well
knew, the compliance department regularly marked flagged orders
“not suspicious” and release orders to pharmacies without
reviewing the pharmacies’ dispensing data. Additionally, in order
to prevent the generation of future “orders of interest,” and
therefore avoid, reporting suspicious orders to the DEA, the
Company’s compliance department regularly increased the threshold
limit of controlled substances a pharmacy could purchase from RDC.
DOUD knew that such a practice was contrary to law. For example,
in 2012, following a conference hosted by the DEA, an RDC employee
told DOUD, Executive-2, and the Compliance Officer that the DEA
has stated that “if we currently have stores that are constantly

hitting our suspicious order report [threshold] . . . we cannot

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just simply cut them back, on the drug that is causing the alert.

by cutting them back, we are telling the account[} [t]hat a
little bit of Diversion, is okay.” Nonetheless, throughout the
relevant time period, the Company did just that.

35. lndeed, in some instances, RDC also eliminated
customers’ controlled substance order limit thresholds from the
Company’s automated system entirely. For example, in March 2013,
when RDC’s largest customer exceeded its order limit for oxycodone,
the Compliance Officer wrote to LAURENCE F. DOUD lll, the
defendant, and Executive-2 that while “[t]echnically by our
[standard operating procedure} we should make a call and stop
selling,” the Company continued to supply controlled substances to
the customer. Even after RDC terminated pharmacy customers for
failing to comply with the CSA, the Company did not report those
customers to the DEA.

36. Despite its obligations under the CSA and its
representations in its own policies and to the DEA, during the
relevant time period, RDC only filed four suspicious order reports
with the DEA. During the same period, however, the Company should
have reported hundreds of suspicious orders to the DEA, including
orders associated with customers that the Company’s compliance

department determined. had “red_ flags,” or customers that were

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terminated, but it instead knowingly and willfully failed to do
so.

Statutory Allegation

 

37. Fron1 at least in. or about January 2012, up to and
including in or about March 2017, in the Southern District of New
York and elsewhere, LAURENCE F. DOUD lll, the defendant, and others
known and unknown, willfully and knowingly combined, conspired,r
confederated, and agreed together and with each other to defraud
the United States and an agency thereof, to wit, the DEA, in
violation of 18 U.S.C. § 37l.

38. lt was a part and. an object of the conspiracy that
LAURENCE F. DOUD lll, the defendant, and others known and unknown,
willfully and knowingly, using deceit, craft, trickery, and
dishonest means, would and did defraud the United States and an
agency thereof, to wit, the DEA, by willfully failing to report
suspicious orders of controlled substances to the DEA and advise
the DEA of customers diverting' controlled, substances, thereby
impeding, impairing, defeating and obstructing the lawful function
of the agency, in violation of 18 U.S.C. § 371.

Overt Acts
39. ln. furtherance of the conspiracy and to effect its

illegal objects, LAURENCE F. DOUD lll, the defendant, and his co-

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conspirators, committed the following overt acts, among others, in
the Southern District of New York and elsewhere:

a. During the relevant time period, RDC received
approximately 8,700 “orders of interest,” including at least 412
flagged orders of fentanyl and approximately 2,530 flagged orders
of oxycodone, fron1 its pharmacy customers. During that time
period, however, RDC reported only four suspicious orders to the
DEA.

b. During the relevant time period, DOUD directed RDC
to open new customer accounts for customers located in the Southern
District of New York and elsewhere, and to sell those customers
controlled substances, without conducting due diligence on the
customers, as RDC had represented to the DEA that it would do.

c. During the relevant time period, at the direction
of DOUD, RDC supplied customers located in the Southern District
of New York and elsewhere with controlled substances, despite
knowing that those controlled substances were being distributed
outside the scope of professional practice and not for a legitimate
medical purpose, and failed to report those customers to the DEA.

(Title 18, United States Code, Section 371.)

FORFEITURE ALLEGATION

 

40. As a result of committing the offense alleged in Count

One of this lndictment, LAURENCE F. DOUD lll, the defendant, shall

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forfeit to the United States, pursuant to 21 U.S.C § 853, any and
all property constituting, or derived from, any proceeds obtained,
directly or indirectly, as a result of said offense and any and
all property used, or intended to be used, in any manner or part,
to commit, or to facilitate the commission, of, said_ offense,
including but rnn: limited ix) a sum rif money ;hi United States
currency representing the amount of proceeds traceable to the
commission of said offense that the defendant personally obtained.

Substitute Assets Provision

 

41. lf any of the above-described forfeitable property, as
a result of any act or omission of the defendant: (a) cannot be
located upon the exercise of due diligence; (b) has been
transferred or sold to, or deposited with, a third person; (c) has
been placed beyond the jurisdiction of the Court; (d) has been
substantially diminished in value; or (e) has been commingled with
other property which cannot be subdivided without difficulty; it
is the intent of the United States, pursuant to 21 U.S.C. § 853(p)
and 28 U.S.C. § 246l(c), to seek forfeiture of any other property
of the defendant up to the value of the above forfeitable property.

(Title 18, United States Code, Section 982;

Title 21, United States Code, Section 853; and
Tr§le 281 united states cede, section 2461.)

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Form No. USA-33s-274 (Ed. 9M25M58)

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
v.
LAURENCE F. DOUD III,

Defendant.

 

SEALED INDICTMENT

 

19 Cr.
(18 U.S.C. § 371;
21 U.S.C. § 846)

GEOFFREY S. BERMAN
United States Attorney

 

 

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